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     Personal Representative for
   6 the Estate of Michael Gallagher
   7
                            UNITED STATES DISTRICT COURT
   8
                           CENTRAL DISTRICT OF CALIFORNIA
   9
                                     WESTERN DIVISION
  10
     IN RE RETURN OF PROPERTY           )          Case No. 21-cv-5073
  11 SEIZED FROM THE USPV SAFE          )
     DEPOSIT BOX(ES) OF MICHAEL         )          MOTION FOR RETURN OF
  12 GALLAGHER,                         )          PROPERTY PURSUANT TO
                                        )          FED.R.CRIM.P. 41(g);
  13   ________________________________ )          DECLARATIONS; EXHIBITS
                                        )
  14   PETER GALLAGHER, Personal        )
       Representative for the Estate of )
  15   Michael Gallagher,               )
                                        )
  16                      Movant,       )
                                        )
  17        v.                          )
                                        )
  18   UNITED STATES OF AMERICA,        )
                                        )
  19                      Respondent.   )
  20
  21         Plaintiff Peter Gallagher, the Court-appointed Personal Representative for
  22 the Estate of Michael Gallagher, hereby moves the Court for the return of seized
  23 property. This motion is based on Federal Rule of Criminal Procedure 41(g), the
  24 Local Rules, all other relevant case law, statutes and rules of civil and criminal
  25 procedure, on the attached memorandum of points and authorities, and upon any
  26 other oral and/or documentary evidence which may be adduced at the hearing on
  27 this motion, as follows:
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2                                           I.
   3                                   INTRODUCTION
   4         On March 22, 2021, Respondent United States of America (“the
   5 government”), through the Federal Bureau of Investigation (“FBI”), seized several
   6 items of personal property from the safe deposit box(es) maintained by Michael
   7 Gallagher at the US Private Vault in Beverly Hills, California. The FBI, however,
   8 has not served anyone with written notice of any administrative forfeiture
   9 proceedings related to the property contained in those boxes.
  10         The government does not need to maintain physical possession of this
  11 property for use as evidence in any judicial proceeding, and no judicial proceeding
  12 is pending involving the seized property. Therefore, Movant requests that the
  13 Court order return of the property to him forthwith.
  14                                          II.
  15                               STATEMENT OF FACTS
  16 A.      FBI search and seizure of private safe deposit boxes.
  17         Since 2011, US Private Vaults (“USPV”) operated a private safe deposit box
  18 facility, and rented between 600 and 1000 boxes to hundreds of customers who
  19 kept non-contraband property, including U.S. currency, gold and jewelry. Only the
  20 box holder or their designee can open their box, through encrypted biometric
  21 information and their own key. See DOES 1-6 v. United States, CD/CA No. 21-cv-
  22 3254-RGK, Civil Minutes, ECF 23, p. 2.
  23         After a grand jury indicted USPV (but no individuals) for various offenses,
  24 the government searched USPV, seized all of the privately-held boxes pursuant to
  25 at criminal seizure warrant, and then opened and searched and seized the contents
  26 of each individual box (even though none of the box holders was identified in the
  27 search warrant as being part of the criminal investigation or indictment). Id.
  28         However, based on the defendant government’s representations in the

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   1 seizure warrant affidavit that the warrant would only “authorize the seizure of the
   2 nests of the boxes themselves, not their contents”, the warrant specifically
   3 disallowed agents from conducting a criminal search or seizure of the contents of
   4 the safe deposit boxes. Instead, the warrant required that government agents only
   5 “shall follow their written inventory policies to protect their agencies and the
   6 contents of the boxes,” and “shall inspect the contents of the boxes in an effort to
   7 identify their owners in order to notify them so that they can claim their property.”
   8 See Appendix to ECF 20 in DOES 1-6 v. United States (pp. 6-12), attached hereto
   9 as Exhibit A: Unsealing Order, Affidavit ¶108, and Attachment - USPV Seizure
  10 Warrant, ¶c (underlined emphasis in original). Paragraph 108 of the redacted
  11 warrant affidavit further stated:
  12         By seizing the nests of safety deposit boxes, the government will
             necessarily end up with custody of what is inside those boxes initially.
  13         Agents will follow their written inventory policies to protect their
             agencies from claims of theft or damage to the contents of the
  14         boxes, and to ensure that no hazardous items are unknowingly stored
             in a dangerous manner. Agents will attempt to notify the lawful
  15         owners of the property stored in the boxes on how to claim their
             property, such as posting that information on the internet or at USPV
  16         itself, or by contacting the owners directly. In order to notify the
             owners directly, agents will, in accordance with their policies
  17         regarding an unknown person’s property, look for contact information
             or something which identifies the owner.
  18
       Id. (emphasis added). Footnote 40 to the affidavit further states that “The FBI
  19
       policy regarding taking custody of an unknown person’s property provides, in part,
  20
       that agents ‘inspect the property as necessary to identify the owner and preserve the
  21
       property for safekeeping.’ The inspection ‘should extend no further than
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       necessary to determine ownership.’” Id. (emphasis added). Thus, the warrant
  23
       made it clear that the government was allowed to inspect and seize the contents of
  24
       the individual boxes for the limited purpose of identifying the rightful owners of
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       the box contents and to ensure the safety of those contents.
  26
             While the searches of the USPV safe deposit boxes and seizures of their
  27
       property were being executed, box holders were told by law enforcement officers
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   1 that to contest the seizure of their property they must fill out a claim form online at
   2 www.forms.fbi.gov/uspvclaims (“To make a claim for property stored at U.S.
   3 Private Vaults in Beverly Hills, California, please provide the following
   4 information. An FBI agent will contact you for additional details.”). The FBI also
   5 verbally told several box holders that within 30-60 days it would send them notices
   6 of seizure to initiate civil administrative forfeiture proceedings against their
   7 property. Declaration of Eric Honig, ¶3.
   8 B.      The FBI’s initiation of administrative forfeiture proceedings against
   9         some of the seized property, but not Michael Gallagher’s.
  10         The FBI started mailing such notices of seizure on or about May 20, 2021,
  11 including a global notice of the seizure of over 500 boxes of property sent to
  12 USPV’s attorney. Exhibit B, Notice of Seizure to USPV. Movant Peter Gallagher
  13 personally maintained a safe deposit box at USPV, and received written notice
  14 from the FBI of the seizure of the property from his box. Exhibit C, Notice of
  15 Seizure re Box #5104. The FBI also began publishing notices of the over 500 box
  16 seizures on its government website www.forfeiture.gov. See, e.g., Exhibit D,
  17 published notice of Peter’s Box #5104, inter alia, published on June 14, 2021 (and
  18 showing August 3, 2021 as the last date to file an administrative forfeiture claim).
  19         Michael Gallagher also maintained one or more safe deposit boxes at USPV
  20 and stored currency and other property there. Declaration of Peter Gallagher, ¶3.
  21 The Gallaghers, like the other box holders, were provided keys to their personal
  22 box, and maintained exclusive control over their boxes thereafter until the seizures
  23 on March 22, 2021. Declaration of Peter Gallagher, ¶4.
  24         However, Michael passed away in the State of Florida on November 4, 2020,
  25 about 4½ months before the seizures. Exhibit E, Death Certificate. On March 25,
  26 2021, the Circuit Court for the 17th Judicial District in Broward County, Florida,
  27 appointed Peter as personal representative of the estate of his brother Michael,
  28 “with full power to administer the estate according to law; to ask, demand, sue

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   1 for, recover and receive the property of the decedent; to pay the debts of the
   2 decedent as far as the assets of the estate will permit and the law directs; and to
   3 make distribution of the estate according to law.” Exhibit F, Letters of
   4 Administration, Case No. PRC210000424. The contents of Michael’s safe deposit
   5 boxes were included among the assets of the Estate. Declaration of Peter
   6 Gallagher, ¶5.
   7         Peter, on behalf of his brother’s estate, has diligently searched for any record
   8 of any written notice of seizure that may have been sent by the FBI to his brother
   9 Michael, but has been unable to locate any such notices. He has located several of
  10 what appear to be USPV safe deposit box keys, however he has been unable to
  11 determine the USPV box number(s) that correspond with the keys. Peter believes
  12 the FBI is in possession of information that identifies Michael as the person who
  13 maintained the box(es). Declaration of Peter Gallagher, ¶6.
  14         Nevertheless, in his capacity as the Court-appointed personal representative
  15 for the Estate of Michael Gallagher, on June 21, 2021 Peter filed an administrative
  16 forfeiture claim with the FBI regarding the Estate’s ownership of the contents of
  17 Michael’s unidentified boxes. Exhibit G, Claim in Administrative Forfeiture
  18 Proceedings; see also Declaration of Eric Honig, ¶4.
  19         Michael was a successful real estate broker in San Diego (for the Irving
  20 Hughes Group, then Shelton Gallagher), and then essentially semi-retired in
  21 Florida, where he continued to work in asset management and finance at MIGA
  22 Asset Management, Inc., for about 9 years. His average annual gross income for
  23 the past decade exceeded $600,000 and his reported gross federal income was
  24 between $600,000 and $700,000 for both 2018 and 2019. His USPV safe deposit
  25 boxes held over $1 million. The currency, all of which was earned through
  26 legitimate sources, was kept in envelopes and/or bank bags. None of the currency
  27 or other property in the boxes was contraband. Declaration of Peter Gallagher, ¶7.
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   1                                             III.
   2                                       ARGUMENT
   3 A.       Applicable law.
   4          “A person aggrieved by an unlawful search and seizure of property or by the
   5 deprivation of property may move for the property's return. The motion must be
   6 filed in the district where the property was seized. The court must receive evidence
   7 on any factual issue necessary to decide the motion. If it grants the motion, the
   8 court must return the property to the movant, but may impose reasonable conditions
   9 to protect access to the property and its use in later proceedings.” Fed.R.Crim.P.
  10 41(g).
  11          When the property in question is no longer needed for evidentiary purposes,
  12 the person from whom the property is seized is presumed to have a right to its
  13 return, and the government has the burden of demonstrating that it has a legitimate
  14 reason to retain the property. The government must justify its continued possession
  15 of the property by demonstrating that it is contraband or subject to forfeiture.
  16 United States v. Harrell, 530 F.3d 1051, 1057 (9th Cir. 2008). An object is
  17 contraband per se if its possession, without more, constitutes a crime (e.g.,
  18 cocaine), i.e., if there is no legal purpose to which the object could be put. United
  19 States v. McCormick, 502 F.2d 281, 288 (9th Cir.1974); see also United States v.
  20 Bolar, 569 F.2d 1071, 1072 (9th Cir.1978) (per curiam)(explaining that while
  21 diamond rings are not contraband per se, negatives of Federal Reserve Notes are).
  22 Movants are not seeking return of any contraband by this present action.
  23          In any nonjudicial civil forfeiture proceeding under a federal civil forfeiture
  24 statute, the government is required to send written notice to interested parties
  25 within 60 days after the date of a federal seizure (if the property is seized by a State
  26 or local law enforcement agency and turned over to a federal law enforcement
  27 agency for forfeiture under federal law, the deadline is within 90 days after the
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   1 State or seizure). 18 U.S.C. § 983(a)(1)(A)(i, iv);1 see also, e.g., United States v.
   2 Real Property Located at 475 Martin Lane, Beverly Hills, CA, 545 F.3d 1134, 1141
   3 (9th Cir.2008)(government has 60 days after seizing property to send written notice
   4 to interested parties”); United States v. $10,000.00 in U.S. Currency, 2007 WL
   5 2330318, at *1 (S.D.Cal. Aug. 13, 2007)(granting summary judgment and return of
   6 property due to government's failure to provide timely notice after seizure); United
   7 States v. $200,255.00 in U.S. Currency, 2006 WL 1687774 (M.D.Ga. June 16,
   8 2006)(“in the absence of timely notice, the seizing agency must return the seized
   9 property”); United States v. Miscellaneous Firearms, Explosives, Destructive
  10 Devices, Ammunition, 399 F.Supp.2d 881, 882 (C.D.Ill.2005)(government must
  11 commence either an administrative or judicial forfeiture proceeding within 60 days
  12 after seizure of the property); United States v. Assorted Jewelry with an
  13 Approximate Value of $219,860.00, 386 F.Supp.2d 9 (D.Puerto Rico
  14 2005)(dismissing civil judicial forfeiture action and returning property to claimant
  15 where the government failed to provide timely notice after seizure).
  16 B.      The government must return the currency and other property
  17         seized from Michael Gallagher’s boxes.
  18         The government has failed to initiate timely forfeiture proceedings against
  19 the property seized from Michael’s USPV safe deposit boxes. No notice of the
  20 initiation of any judicial proceedings against his property (now the property of his
  21 Estate) has been received after a diligent search. Nevertheless, the Estate has filed
  22 a “protective” claim with the FBI in the event the government has published notice
  23 of the seizures on its website.
  24         Because forfeitures are disfavored, forfeiture laws and their notice provisions
  25
             1
  26          Before forfeiting property, the seizing agency must publish notice for at
  27 least three weeks and must also send “[w]ritten notice of seizure together with
     information on the applicable procedures ... to each party who appears to have an
  28 interest in the seized article.” 19 U.S.C. §1607(a).

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   1 are strictly construed against the government. United States v. Ritchie, 342 F.3d
   2 903, 909-10 (9th Cir. 2003). No criminal proceedings have been filed against
   3 Michael Gallagher in conjunction with the seized funds, and thus the government
   4 has no need to hold the seized funds even for any alleged evidentiary purpose.
   5 None of the property held in Michael’s boxes is contraband per se. The Estate
   6 contends the government does not possess evidence to the contrary.
   7         The government also has no justification for the delay in either returning the
   8 items of property or initiating forfeiture proceedings. To determine whether a
   9 delay in filing a civil forfeiture proceeding has resulted in a due process violation, a
  10 court should consider four factors: 1) the length of the delay; 2) the reason for the
  11 delay; 3) the claimant's assertion of his rights; and 4) prejudice to the claimant by
  12 the delay. United States v. $8,850 U.S. Currency, 461 U.S. 555, 564, 103 S.Ct.
  13 2005, 2012, 76 L.Ed.2d 143 (1983); see also United States v. $12,248 U.S.
  14 Currency, 957 F.2d 1513 (9th Cir.1991)(13-month delay was prejudicial where
  15 claimant lost a critical witness and had compelling verifiable evidence of a
  16 legitimate source for the seized currency). These elements are guides in balancing
  17 the interests of the property owner and the government to assess whether the basic
  18 due process requirement of fairness has been satisfied in a particular case. $8,850
  19 U.S. Currency, 461 U.S. at 565.
  20         The government is obligated to return the Estate’s property whether under
  21 statutory or due process standards. The property was seized by the FBI, no notice
  22 of forfeiture proceedings was sent to Michael Gallagher within the requisite 60-day
  23 period since the March 22, 2021 seizure, no administrative or judicial forfeiture
  24 proceedings are believed to have been initiated against this property, and the
  25 property has not been returned to the Estate. The Estate contends the government
  26 has no justification for the delay. Accordingly, the property contained in Michael
  27 Gallagher’s US PV safe deposit boxes should be ordered returned to the Estate
  28 forthwith.

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   1 C.      The Court should order the government to cooperate with the Estate in
   2         identifying Michael Gallagher’s boxes.
   3         If the government contends it cannot identify which USPV boxes (and the
   4 property held inside) were maintained and owned by Michael Gallagher, the Estate
   5 requests that the Court order the FBI to allow the Estate’s attorney to bring the keys
   6 to the FBI location where the boxes are stored for the purpose of matching the keys
   7 to the correct boxes. The Estate contends there should be very few boxes that the
   8 government cannot associate with a particular name or person, so this procedure
   9 should be relatively simple and quick. Alternatively, the Estate is aware that USPV
  10 maintained surveillance video for security purposes, and also a chronological log of
  11 visits by box numbers, and that the FBI is in possession of this evidence. Michael
  12 Gallagher thus can be identified through the process of elimination by the date he
  13 can be seen entering the facility and the box numbers that were accessed that day.
  14                                           III.
  15                                     CONCLUSION
  16         The Estate respectfully requests the Court to grant its motion for return of
  17 property and order the government to forthwith return the property seized from the
  18 USPV safe deposit boxes maintained by Michael Gallagher.
  19
  20 DATED: June 22, 2021              Respectfully submitted,
  21
                                       LAW OFFICE OF ERIC HONIG
  22
  23                                   /s/ Eric Honig
                                       ________________________________
  24                                   ERIC HONIG
                                       Attorney for Movant Peter Gallagher,
  25                                   Personal Representative for
                                       the Estate of Michael Gallagher
  26
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  28

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    1                          DECLARATION OF ERIC HONIG
    2         I, Eric Honig, state and declare as follows:
    3         1.     I have personal knowledge of the facts hereinafter stated, and if called
    4 upon to testify, I could and would competently testify thereto.
    5         2.     I am counsel of record for Movant Peter Gallagher, Personal
    6 Representative for the Estate of Michael Gallagher.
    7         3.     I have several clients who maintained safe deposit boxes at US Private
    8 Vaults that were searched by the FBI. While the searches and seizures of their
    9 property were being executed, box holders were told by law enforcement officers
   10 that to contest the seizure of their property they must fill out a claim form online at
   11 www.forms.fbi.gov. The FBI also verbally told several box holders that within 30-
   12 60 days it would send them notices of seizure to initiate civil administrative
   13 forfeiture proceedings against their property.
   14         4.     In his capacity as the Court-appointed personal representative for the
   15 Estate of Michael Gallagher, on June 21, 2021 Peter Gallagher filed an
   16 administrative forfeiture claim with the FBI (prepared and mailed by me as his
   17 attorney) regarding the Estate’s ownership of the contents of Michael’s
   18 unidentified boxes.
   19         5.     Exhibit A is a true and correct copy of Appendix (pp. 6-12) to ECF 20
   20 in DOES 1-6 v. United States, CD/CA No. 21-cv-3254-RGK, attached hereto as
   21 Exhibit A: Unsealing Order, Affidavit ¶108, and Attachment - USPV Seizure
   22 Warrant.
   23         6.     Exhibit B is a true and correct copy of the FBI’s Notice of Seizure to
   24 US Private Vaults.
   25         7.     Exhibit D is the FBI’s published notice of Peter Gallagher’s US
   26 Private Vault Box #5104, inter alia, published on June 14, 2021 (showing August
   27 3, 2021 as the last date to file an administrative forfeiture claim).
   28         8.     Exhibit G is an administrative forfeiture claim I caused to be filed with

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    1 the FBI by Peter Gallagher on June 21, 2021 on behalf of the Estate regarding its
    2 ownership of the contents of Michael’s unidentified boxes.
    3         9.    I contacted Assistant U.S. Attorney Andrew Brown on June 22, 2021
    4 regarding the grounds for this motion, pursuant to Local Rule 7-3. He responded
    5 with an e-mail stating that “[a]ccording to FBI records, there is a single box
    6 associated with the name ‘Gallagher’ which is under the name ‘Peter.’”
    7         I certify under penalty of perjury of the laws of the United States of America
    8 that the foregoing is true and correct. Executed on June 22, 2021 at Marina del
    9 Rey, California.
   10                                   /s/ Eric Honig
   11                                   _______________________
                                        ERIC HONIG
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